                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE




  UNITED STATES OF AMERICA

         v.                                           No. 3:25-cr-115

                                                      Judge Waverly D. Crenshaw, Jr.
  KILMAR ARMANDO ABREGO GARCIA,


                                Defendant.



                   MOTION TO EXCUSE ATTORNEY APPEARANCE

       David Patton, counsel to Defendant Kilmar Armando Abrego Garcia, respectfully requests

that this Court excuse him from appearing at the evidentiary hearing on the government’s motion

for revocation of Judge Holmes’s release order, which is currently set for Wednesday, July 16,

2025, at 1:00 p.m. ECF 56. As cause, undersigned counsel submits that beginning on Monday,

July 14, 2025, he is representing a defendant in a federal criminal jury trial in United States v.

Storm, Case No. 23-cr-430, before Judge Katherine Polk Failla in the Southern District of New

York. Undersigned counsel’s co-counsel, Sean Hecker, Jenna Dabbs, and Rascoe Dean, will be

present at the hearing to represent Mr. Abrego. Undersigned counsel therefore respectfully

requests that this Court excuse his appearance at the evidentiary hearing on the government’s

motion for revocation of Judge Holmes’s release order.

Dated: July 11, 2025                                Respectfully submitted,
       New York, New York

                                                    /s/ David Patton
                                                    Sean Hecker*
                                                    Jenna M. Dabbs*
                                                    David Patton*

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                                                    Counsel for Defendant Kilmar Armando
                                                    Abrego Garcia


                               CERTIFICATE OF SERVICE

       I hereby certify that on July 11, 2025, I electronically filed the foregoing document with

the clerk of the court by using the CM/ECF system, which will send a notice of Electronic Filing

to the following: Acting United States Attorney, Robert E. McGuire, 719 Church Street, Suite

3300, Nashville, Tennessee 37203.



                                                           /s/ David Patton




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